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                  EXHIBIT G
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           From:                          Chris Wolf <cwolf011@gmail.com>
           Sent:                          1/10/2022 7:21:46 PM -0600
           To:                            Dustin Owen <dowen@waterstonemortgage.com>
           Subject:                       Re: Re: Follow up from meeting with Chris & Dwayne
          Attachments:                    image001.png



           Hey Dustin,
           I hope you had  great holiday. Dwayne and I have talked and we are looking to set up
                            a
           another meeting with you. He should be reaching out to you tomorrow to set something up.
           Thank you,

           On Tue, Nov 9, 2021, 9:48 AM Dustin Owen <dowen@waterstonemortgage.com> wrote:

            Yes. David, Mike and I are very interested in continuing our talks with you and Dwayne.



            Additionally, we look forward to meeting Chris Smith and learning more about his
            operation and business goals.


             Leta€™s try to find a date that works for some next week or the week of 11/29.


            Talk to soon.




             Dustin Owen, CMBA®

             Regional Vice President Southeast
                                      -




             NMLS #322926



            2699 Lee Road, Suite 600 Winter Park, FL 32789


            Office: 407.645.6363 Mobile: 407.497.8655


             Email: DOwen@WaterstoneMortgage.com




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            Website: DustinOwen.com



             Host of 4€ceThe Loan Officer Podcasta€\_



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            From: Chris Wolf <cwolf011@qmail.com>
            Sent: Tuesday, November 9, 2021 7:36 AM
            To: Dustin Owen <dowen@waterstonemortgage.com>
            Subject: Re: Follow up from meeting with Chris & Dwayne




            Thank you for getting back to me so quickly. I forwarded everything over to Chris Smith
            in Tampa and we will discuss. I look forward to our next meeting.




            On Thu, Nov 4, 2021, 4:30 PM Dustin Owen <dowen@waterstonemortgage.com> wrote:

                 Hello Chris,




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                 Please see below for our answers in red. Obviously, reach out with any questions you
                 have. A handful of these questions require a bit of unpacking which is why we look
                 forward to being able to carve out half a day to meet in person to dive deep. (Maybe
                 we can cap it off with a dinner over at Christnera€™s.)




                 We dona€™t believe in 4€ceone-size fits alla€O. We have ways to on-board branches
                 by tailor-making their on-board to best suit their needs. This has been Waterstonea€™s
                 way for the past 10+ years and has worked well regardless if it was a branch that funds
                 $50 million a year or an entire region that funds $800 million a year. This goes back to
                 what I shared with you on Tuesday as the top reason we have been here for 14+
                 years: we have autonomy and we have a voice. You will be much involved in helping us
                 come up with the best way to     successfully on-board your branch. We will also lean on
                 our executive    leadership team. Kevin Allen is our SVP of Sales and Jeff McGuiness is
                 our CEO.     Both will be involved where we need them to be involved and Kevin has
                 already offered to fly down from our home office to participate early.

                 Leta€™s go ahead and start looking for dates either next week or the week after where
                 we can meet up for 4-5 hours and then   possibly cap off those meetings with a nice
                 dinner. Will you send us 2-3 that would work best for you?



                 Looking forward to reconnecting soon.

                 Sincerely,




                 Dustin Owen, CMBA®

                 Regional Vice President Southeast
                                           -




                 NMLS #322926



                 2699 Lee Road, Suite 600 Winter Park, FL 32789


                 Office: 407.645.6363 Mobile: 407.497.8655


                 Email: DOwen@WaterstoneMortgage.com




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                 Website: DustinOwen.com



                  Host of 4€ceThe Loan Officer Podcasta€.




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                 Global and National Commerce Act (&4€0sE-Signa€“) unless a specific statement to the contrary is included in this message.




                 From: Chris Wolf <cwolf011@gmail.com>
                 Sent: Wednesday, November 3, 2021 2:07 PM
                 To: Dustin Owen <dowen@waterstonemortgage.com>
                 Subject: Follow up from meeting with Chris & Dwayne




                 Hi Dustin!

                 It was a    pleasure meeting
                                         with you, Dave, and Ben                               yesterday. Here are some questions
                 from Chris in Tampa and some others I had:



                 1. Can we get a pricing engine to play with and need to know if it is raw pricing or what
                 they bake into it that they keep, for example, if we see 3% on conventional, or FHA, is that
                 with their bps already in there or do we take out? Yes. We can get this set up for you. We
                 use Optimal Blue as our pricing engine. Kevin Allen will be able to create an account for




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                 you all. Once we have a meeting date set we will get you all log-in credentials that will be
                 available for 72 hours.




                 2. Transition team can we send loans over to start and build up a balance of money to fund
                                    -




                 transition. This is a big one. I am not and I am sure Dwayne is not writing a check to them
                 for $200,000 to fund the first 60 days or so of fixed costs. Once the initial time frame is
                 agreed upon would they allow it to be paid back over 10-12 months. My salaries are
                 $164,000 month right now, and leads $70,000, rent will soon be $30,000, so just the Tampa
                 branch alone we are talking over $500,000 in a cash burn in a few months give or take. We
                 need to make sure anything you all do during transition does not violate any current
                 agreement you have with your current employer as it pertains to leads generated and loans
                 in the pipeline. We are less concerned about forcing volume over to create instant revenue
                 and more concerned about a smooth transition. This is a long play so there is no need to
                 make short decisions. We will assemble a transition team to help get everyone on-boarded
                 and ready to field pre-quals, lock loans and disclose files on Day 1. There is an ability to
                 establish a credit facility so that personal financial impact to non-existent.



                 3. Will they front the money for fixed costs for 3 months for salaries, rent, COBRA, leads,
                 advertising etc. We will be able to assemble a package that helps fill the holes left during
                 transition as well as avoid any personal financial impact. Three months is a reasonable
                 timeline.



                 4. Fees per loan, underwriting? Processing? What do they charge branch of those fee's and
                 what do we keep? Corporate UW fees are around $950. We add Processing fee of $525to
                                                                                 a
                 that. We (Your Branch P&L) keeps the Processing fee and you are allowed to charge what
                 you want; Most of our FL branches charge $525 for Processing fee.




                 5. What do they take of the broker comp for investor loans (Angel Oak, etc)? 275 bps is
                 total comp/revenue on brokered loans. Corporate keeps 50bps and 225bps goes to the
                 branch. We generally pay our LOd€™s their full comp (average in FL is 115bps) on
                 brokered loans. We have many brokered options but are able to do 97% of our loans in-
                 house. Brokered loans are not a money maker for us; they are an extra tool to keep LO&€™s
                 happy.




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                 6. How many branches and what kind of volume are they closing? Through October our
                 branches have done: Winter Park (401 million), Ft. Walton Beach (86), Lake Mary (62), St.
                 Pete (60), Jupiter (46), Ft. Myers (37), Port Orange (23), Jacksonville (1)




                 7. Do they have a lead guy or someone that helps with consumer direct lead buys,
                 conversions, etc. and do they have or use Velocify? The FL Region does not do a whole lot
                 with consumer direct. Dustin Owen and Mike Smalley dabbled back in the day with in and
                 used everything from Big Purple Dot to Agent Legend to manage those leads. Our current
                 CRM of choice is JUNGO. We used to use SureFire (aka Top of Mind) and before that
                 ACT!. We are huge into database management and database marketing. We have a team
                 that builds, manages and markets to our LOA€™s databases on their behalf. We have
                 integrations and automations build within Encompass and all of our content is customized.
                 We are intrigued by those who have a component of consumer direct and see the value
                 when done properly. Our CIO and IS team are familiar with Velocify as well as Candid and
                 Pipe Drive. We are an extremely tech forward company. We employ four (4) in-house
                 software engineers and are currently rolling out our revamped and renamed propriety
                 technology that is designed to be an absolute difference maker that will benefit both sales
                 and ops. (LOa€™s will love it. Processors will love. Clients will love. Referral partners will
                 love it. It is called 4€cee0ELEMENTA€L.




                 8. What kind of marketing support help do they have? Do they have a marketing
                 department? A ton of support is offered; more than you can use at one time. Yes it is an in-
                 house marketing department of 8+ associates including a social media expert and a video
                 content creator.




                 9. What is % of purchase/refinance as a company? YTD company is 63% purchase; Florida
                 is 69% purchase.



                 10. Waiting period for benefits? Medical benefits start on the  of the month after 60 days.
                 (Example, on-board 11/30 and benefits start 2/1. On-board 12/7 and benefits start 3/1.)




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                 11. 401k, when can we start, what is company match? You can start contributing Day |. It is
                 a 5-year vesting schedule for the match. The match is $.50 on the $1 up to 6% of associates
                 pay. (There is a max annual company contribution of $3k per year per associate.)




                 12. Do   they have or can      they set up a deferred compensation plan for high wage earners?
                 Not at this time but we are       looking into it.



                 13. What out of the box loan programs do you have? Bank stmt loans, DSCR/Investor cash
                 flow, Renovation loans, Physicians loans, Foreign National, Bridge Loans, etc. Do you
                 have any broker partners that do programs like that or anything in house? Hmma€|where to
                 start? I will start with the stuff that packs the biggest punch:

                          -
                              In-House C/P Loans: 95% LTV up to $1,000,000 loan amount. It is a true one-time
                 close.

                          -
                              Bank portfolio lending:

                                     -
                                         Think reduced waiting periods on foreclosures, short-sales and
                          bankruptcies.
                                     -
                                         Think 95% LTV up to $1,000,000 loan amount. (In-House)

                          -
                              585 FICO on FHA (in-house)
                          -
                              FL   Housing and other DPA&€™s
                          -
                              Non-warrantable condoa€™s (in-house and broker options)

                          -
                              Manufactured housing (in-house and brokered options)

                          -
                              Doctor loans (in-house)

                          Wealth Builder Loan 4€“ This is 100% financing up to a $750k loan amount with
                          -




                 no   monthly PMI (in-house) *20-year loan*
                          -


                           Specialty loans for 4€ceHeroesa€ (It sizzles when you sell it but you wonad€™t do
                 many of these.)
                          Specialty loans for 4€ceProfessionalsa€ (Think: CPA, CMB, CFA etc.)
                          -                                                                               -


                                                                                                              (It
                 sizzles when you Sell it but you wond€™t do many ofthese.)
                          -
                              In-house renovation lending




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                        -
                            Other brokered options available for: bank statement, foreign national and DSCR.

                            (However, full disclosure, it is the same types of investors the rest of the industry
                            has and we have the same types of headaches_ the rest of the industry has.)

                 *] am sure we left something off but hopefully your get the general idea.



                 14. Marketing budget/share of any expenses 4€“ Would we also have some assistance in
                 marketing expenses to use on events, promotional materials, leads, etc? When running a
                 P&L model there are many expenses that will be yours especially when it comes to
                 purchased leads and events. There will be some things we do asa group that benefits all
                 branches and if it is a group function that benefits the entire FL Region then it ends up not
                 being a branch expense. We can work in an upfront allowance to be given to get the branch
                 fully stocked. The FL Regional sales support staff in place to manage and market to
                 LOd€™s databases is not a branch expense. This is a service provided to the branches.
                 There is also no cost allocation / cost sharing to help cover the costs of our marketing
                 department associates, social media associates nor the FL Regiona€™s video content
                 creator. (Yes. We have a videographer on staff to work with our LOA€™s of just the FL
                 Region on creating video content.)



                 15. Are you doing any virtual closings/hybrid closings? The vast majority of our closings
                 are hybrid. We use a service provider called Snap Docs. Any closing document that
                 isna€™t notarized can be signed pre-closing electronically. Only notarized docs get signed
                 in person/ink. We also do RON closings when needed, but do not do many of them overall
                 as not all title companies are set up for it.




                 Thank you!




                 Chris Wolf




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